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                       UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION
  Eugene Allan, Deborah F. Allan,       )
  Keith Landen, Matthew J.              )
  Cavendish, and Traci Cavendish, on    )
  behalf of themselves and others       )     Case No. 2:10-cv-14046
  similarly situated,                   )
                                        )     Hon. Steven J. Murphy, III
        Plaintiffs,                     )
  vs.                                   )     Magistrate Judge R. Steven Whalen
                                        )
  Realcomp II, Ltd., a Michigan         )
  Profit Corporation, et al.            )
                                        )
        Defendants                      )

    PLAINTIFFS’ UNOPPOSED MOTION FOR AWARD OF ATTORNEYS’
      FEES, REIMBURSEMENT OF EXPENSES INCURRED AND FOR
              PAYMENT OF REPRESENTATIVE AWARDS

        Plaintiff hereby seeks entry of an Order providing:

        (1) an award of $1,083,333.33 (or 1/3 of the Settlement Fund) in attorneys’

  fees to Plaintiffs’ Counsel;

        (2) the reimbursement of $300,771.71 in expenses advanced by Plaintiffs’

  Counsel; and

        (3) payment of representative awards of $12,500 to Eugene and Deborah

  Allen, $12,500 to Matthew and Traci Cavendish, and $12,500 to Keith Landen.
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        Support for this Motion is contained in the accompanying Memorandum in

  Support of Unopposed Motion for Award of Attorneys’ Fees, Reimbursement of

  Expenses Incurred and for Payment of Representative Awards.

        Local Rule 7.1 Certification. Before filing this motion and the attached

  brief, plaintiffs’ counsel emailed them to defendants’ counsel and inquired whether

  the motion would be opposed. Defendants’ counsel does not oppose this motion.


  Date: August 6, 2014                  Respectfully Submitted,

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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

  Eugene Allan, Deborah F. Allan,      )
  Keith Landen, Matthew J.             )
  Cavendish, and Traci Cavendish, on   )
  behalf of themselves and others      )       Case No. 2:10-cv-14046
  similarly situated,                  )
                                       )       Hon. Steven J. Murphy, III
        Plaintiffs,                    )
  vs.                                  )       Magistrate Judge R. Steven Whalen
                                       )
  Realcomp II, Ltd., a Michigan        )
  Profit Corporation, et al.           )
                                       )
        Defendants                     )


  PLAINTIFFS’ MEMORANDUM IN SUPPORT OF UNOPPOSED MOTION
      FOR AWARD OF ATTORNEYS’ FEES, REIMBURSEMENT OF
   EXPENSES INCURRED AND FOR PAYMENT OF REPRESENTATIVE
                         AWARDS




                                           1
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                     STATEMENT OF THE ISSUES PRESENTED

        1.     Should Counsel for Plaintiffs and the Class, who prosecuted this case

  diligently and effectively for more than three years and obtained a cash settlement

  of $3.25 million, be awarded one-third of the settlement fund ($1.083 million) in

  attorneys’ fees?

        2.     Should Counsel for Plaintiffs and the Class be reimbursed

  $300,771.71 for the expenses they incurred in prosecuting this case?

        3.     Should the class representatives who pursued these claims diligently

  on behalf of the class be awarded the requested representative awards?




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                          CONTROLLING OR MOST APPROPRIATE
                          AUTHORITY FOR THE RELIEF SOUGHT

  Cases

  Blum v. Stenson, 465 U.S. 886 (1984) .......................................................... 4, 5, 6, 7

  Boeing Co. v. Van Gemert, 444 U.S. 472 (1980) ................................................2, 16

  Hayes v. Sec'y of Health and Human Servs., 923 F.2d 418 (6th Cir. 1990) ............11

  Moulton v. United States Steel Corp., 581 F.3d 344 (6th Cir. 2009) ........................9

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                                   INTRODUCTION

        Counsel for Plaintiffs and the Class (“Petitioners” or “Class Counsel”)

  submit this motion1 for an award of attorneys’ fees, reimbursement of their

  litigation costs incurred in connection with this action (the “Litigation” or

  “Action”), and representative awards for class representatives, Eugene Allan,

  Deborah F. Allan, Keith Landen, Matthew J. Cavendish, and Traci Cavendish.

  Despite determined opposition and serious legal and factual hurdles, with recovery

  far from assured, Class Counsel successfully prosecuted this Action on a wholly

  contingent basis and secured a cash settlement fund of $3.25 million for the Class

  (the “Settlement” or the “Settlement Fund”).

        The Settlement is an excellent result obtained through the diligent and

  tenacious efforts of Class Counsel in the face of significant obstacles. As

  compensation for their efforts in this litigation, Class Counsel respectfully request

  the Court approve an award of attorneys’ fees in the amount of one third of the

  cash benefit achieved for the Class. The requested fee is well within the range of

  fees customarily awarded in antitrust and other types of class actions. As discussed

  below, the requested fee is also reasonable under a lodestar analysis, with the



   1
     Plaintiffs are submitting a separate memorandum in support of their motion for
  final approval of the proposed settlement (the “Settlement Memorandum”).
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  requested fee representing a significant negative multiple on their lodestar. Class

  Counsel request the Court approve the requested fee as reasonable given the

  recovery obtained for the Class, the value of the services rendered on behalf of the

  Class, the contingent nature and high degree of risk under which Class Counsel

  rendered their services, the benefit actions like this provide to society in general,

  the complexity of the Action, and the professional skill required to produce the

  result obtained. Petitioners also seek reimbursement of the reasonable expenses

  incurred in this litigation.


  I.     Entitlement to Fees and Methods for Determining Fee Award

         Federal Rule of Civil Procedure 23(h) provides that “[i]n a certified class

  action, the court may award reasonable attorney’s fees and nontaxable costs that

  are authorized by law or the parties’ agreement.” Fed. R. Civ. P. 23(h). Under the

  “equitable fund” doctrine established 132 years ago in Internal Imp. Fund Trustees

  v. Greenough, 105 U.S. 527 (1881), attorneys for the representative plaintiff in

  litigation resulting in a recovery for a class may petition the court to be

  compensated for their efforts. The rationale for this doctrine was explained a

  century later in Boeing Co. v. Van Gemert, 444 U.S. 472, 479 (1980): “a litigant or

  a lawyer who recovers a common fund for the benefit of persons other than himself

  or his client is entitled to a reasonable attorney’s fee from the fund as a whole.”
                                             2
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         Professor Alba Conte, acknowledging the importance of awarding fair and

   reasonable fees in common fund cases, stated:

                [C]ourts have been careful to award a fully compensable
                reasonable fee based on the underlying economic
                inducement for class action lawyers to pursue potentially
                expensive or complex common fund class litigation.
                These lawyers assume the risk of no compensation unless
                they successfully confer common fund benefits on the
                class, based on their reasonable expectation that they will
                share in the recovery in a fair proportion, in contrast to
                receiving a fee based initially on time-expended criteria
                that fail to give the results obtained primary
                consideration.

   1 A. Conte, Attorney Fee Awards § 1.09, at 16 (1993) (footnotes omitted).

         Declarations from Class Counsel show that they expended more than

   4,231hours litigating this case. See Exhibit 1, Declaration of Brian D. Penny

   (“Penny Decl.”) ¶ 4. This declaration also shows that Petitioners’ actual lodestar

   was $1,782,801.50 through August 6, 2014. Id. The actual lodestar far exceeds

   Petitioners’ requested fee. Competent counsel would be unlikely to undertake a

   commitment of time, effort and resources of this magnitude without the possibility

   of a reasonable return if their efforts proved successful, given the real risk of

   receiving no compensation at all if they lost.




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         A.     The Percentage-of-the-Fund Method is Preferred

         The Supreme Court of the United States and courts within the Sixth Circuit,

   as well as numerous other Courts of Appeals and District Courts, recognize the

   percentage-of-recovery method as the preferred approach in analyzing fee

   applications in common fund class actions. See Blum v. Stenson, 465 U.S. 886, 900

   n.16 (1984); Sprague v. Ticonic Nat’l Bank, 307 U.S. 161, 164-67 (1939);

   Rawlings v. Prudential-Bache Properties, 9 F.3d 513, 516 (6th Cir. 1993) (noting

   that the percentage of the fund method “…has a number of advantages: it is easy to

   calculate; it establishes reasonable expectations on the part of plaintiffs’ attorneys

   as to their expected recovery; and it encourages early settlement, which avoids

   protracted litigation.”); Gascho v. Global Fitness Holdings, LLC, No. 2:11-cv-436,

   2014 U.S. Dist. LEXIS 46846, at *101 (S.D. Ohio Apr. 4, 2014) (“[i]n general, the

   percentage of the fund method is preferred in common fund cases”).

         The percentage-fee award is intended to approximate the market – that is,

   what private counsel ordinarily would charge in a contingent-fee contract. See,

   e.g., Schumacher v. AK Steel Corp. Ret. Accumulation Pension Plan, No. 1:09-cv-

   794, 2014 U.S. Dist. LEXIS 13768, at *42 (S.D. Ohio Feb. 4, 2014) (“a reasonable

   contingent fee should reflect the market rate for the lawyer’s services - what a




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   knowledgeable class member would have negotiated and agreed to pay at the

   outset of the case.”).

         The percentage-of-fund method requires the Court to evaluate the fairness

   and reasonableness of the requested fee by looking at the overall efforts of Counsel

   and the results achieved. See Blum v. Stenson, 465 U.S. at 900 n. 16. It does not,

   however, require the Court to evaluate each firm, each lawyer and each minute of

   time spent by them as the Court would do in a “statutory fee shifting” case.2


         B.     Application of the Percentage-of-the-Fund Method Generally

         The percentage method is consistent with and is intended to mirror practice

   in the private marketplace, where contingent-fee attorneys typically negotiate

   percentage-fee arrangements with their clients. As Judge Posner emphasized in

   Continental Illinois Sec. Litigation, 962 F.2d 566 (7th Cir. 1992):



   2
     Unlike the “common fund” case presented here, a court in the typical “statutory
   fee shifting” case may not enhance the actual lodestar or take into account the
   overall efforts, results achieved or the contingent nature of the litigation. City of
   Burlington v. Dague, 505 U.S. 557 (1992). All a court may examine to determine
   reasonableness in a “statutory fee” case is the hours expended, the work performed
   and the rate charged. Id. Thus, a careful inquiry into those items is necessary in a
   “statutory fee” case, but is unnecessary here, where the overall efforts of Counsel,
   results achieved, and contingent nature of the litigation can and must be considered
   in determining the reasonableness of the fee. Blum v. Stenson, 465 U.S. at 900 n.
   16; Brown v. Phillips Petroleum Co., 838 F.2d 451, 456 (10th Cir. 1988) (in a
   percentage fee award, the amount of time need not be considered at all).
                                              5
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                The object in awarding a reasonable attorney’s fee...is to
                simulate the market....The class counsel are entitled to
                the fee they would have received had they handled a
                similar suit on a contingent fee basis, with a similar
                outcome, for a paying client.
   Id. at 572. See also Schumacher, 2014 U.S. Dist. LEXIS 13768, at *42 (“a

   reasonable contingent fee should reflect the market rate for the lawyer's services -

   what a knowledgeable class member would have negotiated and agreed to pay at

   the outset of the case.”). The percentage awarded under the percentage approach

   should reflect the same incentives, and provide the same reward for efficient

   efforts, as in non-class action litigation.


                1.     Ranges of Percentages Typically Awarded in Non-Class Cases
         Contingency fees in non-class action cases typically range from 30-40%. In

   their concurring opinion in Blum, Justices Brennan and Marshall observed that:

   In tort suits, an attorney might receive one-third of whatever amount the plaintiff

   recovers. In those cases, therefore, the fee is directly proportional to the recovery.

   465 U.S. at 904; See also In re Prudential Sec. Inc. Ltd. Partnerships Litig., 912 F.

   Supp. 97, 101 (S.D. N.Y. 1996) (noting that “investors entered retainer agreements

   with private counsel which provided for a contingent fee ranging between 33-1/3%

   and 40% of the amounts recovered”); Kirchoff v. Flynn, 786 F.2d at 323, 324 n.5

   (7th Cir. 1986) (observing that “40% is the customary fee in tort litigation”); In re

                                                 6
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   Public Serv. Co. of New Mexico, No. 91-0536M, 1992 U.S. Dist. LEXIS 16326, at

   *20 (S.D. Cal. July 28, 1992) (“If this were a non-representative litigation, the

   customary fee arrangement would be contingent, on a percentage basis, and in the

   range of 30% to 40% of the recovery”); In re M.D.C. Holdings Sec. Litig., No. CV

   89-0090 E(M), 1990 U.S. Dist. LEXIS 15488, at *22 (S.D. Cal. Aug. 30, 1990)

   (“In private contingent litigation, fee contracts have traditionally ranged between

   30% and 40% of the recovery”); McKenzie Constr., Inc. v. Maynard, 823 F.2d 43,

   45-49 (3d Cir. 1987) (33-1/3% contingent fee held reasonable, even though it

   converted to approximately $790 per hour, which is more than the hourly return

   here).


                  2.    Ranges of Percentages in Class Cases
            Similarly, in class actions, the percentage recovery customarily awarded is

   generally in the neighborhood identified by Justices Brennan and Marshall. In re

   Skelaxin (Metaxalone) Antitrust Litig., No. 2:12-cv-83, 2014 U.S. Dist. LEXIS

   91661, at *7 (E.D. Tenn. June 30, 2014) (approving attorneys’ fees of 1/3 of the

   settlement fund); Lessard v. City of Allen Park, No. 00-cv-74306, 2005 U.S. Dist.

   LEXIS 17363, at *1-2 (E.D. Mich. July 18, 2005) (same); In re Cardizem CD

   Antitrust Litig., 218 F.R.D. 508, 532 (E.D. Mich. 2003) (recognizing that fees of

   20-30% are generally awarded in the Sixth Circuit); Goldsmith v. Tech. Solutions
                                              7
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   Co., No. 92 C 4374, 1995 U.S. Dist. LEXIS 15093, at *26 (N.D. Ill. Oct. 10, 1995)

   (33% is “in line with that which has, in previous cases, been approved”).


         C.     Determining the Appropriate Percentage in this Action

         In determining what percentage fee is appropriate in a common fund class

   action, courts in the Sixth Circuit consider six factors, known as the Ramey factors:

                (1) the value of the benefit rendered to the plaintiff class;
                (2) the value of the services on an hourly basis; (3)
                whether the services were undertaken on a contingent fee
                basis; (4) society’s stake in rewarding attorneys who
                produce such benefits in order to maintain an incentive to
                others; (5) the complexity of the litigation; and (6) the
                professional skill and standing of counsel involved on
                both sides.

   Moulton v. United States Steel Corp., 581 F.3d 344, 352 (6th Cir. 2009) (quoting

   Bowling v. Pfizer, Inc., 102 F.3d 777, 780 (6th Cir. 1996)); Swigart v. Fifth Third

   Bank, No. 1:11-cv-88, 2014 U.S. Dist. LEXIS 94450, at *15 (S.D. Ohio July 11,

   2014) (“In reviewing the reasonableness of the requested award, the Sixth Circuit

   requires district courts to consider six factors, known as the Ramey factors.”). The

   two most important factors generally are considered to be the value of the benefit

   rendered and the value of the services on an hourly basis. Dick v. Sprint Communs.

   Co. L.P., 297 F.R.D. 283, 299 (W.D. Ky. 2014). As discussed below, it is




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   respectfully submitted that the application of these factors to this case supports the

   requested fee.


                1.     Value of the Benefit Rendered to the Plaintiff Class
         Through the efforts of Class Counsel, $3.25 million was obtained for

   members of the Class. As set forth in the Settlement Memorandum, the settlement

   provides an excellent recovery for Class Members, particularly in light of the

   complexity, duration and expense of ongoing litigation and the risk of establishing

   liability and damages.

         Comparable cases, Logue v. West Penn Multi-List, Inc., 2:10-cv-451 (W.D.

   Pa.), Robertson v. Sea Pines Real Estate Companies, Inc., et al., 3:09-cv-00095-SB

   (D. S.C.), and Boland v. Consolidated Multiple Listing Service, Inc., et al., 3:09-

   1335-SB (D. S.C.), demonstrate the value of the benefits obtained in comparison to

   the amount in controversy. In Logue, there were 47,309 potential Class Members

   identified and the case ultimately settled for $2.375 million. In Boland, there were

   9,732 potential Class Members identified and that case settled for $1 million. Here,

   Class Counsel negotiated a proportionately comparable settlement of $3.25 million

   for a class size of approximately 64,000 potential Class Members that were

   identified. Robertson was not a common fund settlement, but class members

   received payments of $75, $125, or $215, depending on the commission they paid.
                                             9
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   Though the final determination on the value of payments to Class Members here is

   not yet knowable, if the settlement is approved, the average payout to each Class

   Member that submitted a valid claim based on the current claim rate is likely to be

   well above $600 each. Accordingly, Class Counsel have obtained an excellent

   benefit for the Class, whether measured on its own merit or in comparison to

   comparable MLS antitrust cases.


                2.     The Value of the Services on an Hourly Basis
         The reasonableness of the fee requested is demonstrated by a lodestar cross-

   check, which demonstrates that Class Counsel have expended substantial time and

   labor in pursuit of the Class’s claims. The cumulative lodestar value of the time for

   all Class Counsel based on historical rates is $1,782,801.50. See Penny Decl. ¶ 4.

   Thus, the requested attorneys’ fee award of $1,083,333.33 represents a multiple of

   0.61 on the total reported lodestar, meaning Class Counsel will receive

   substantially less than their hourly rates several years after initiating this action. As

   the lodestar here is considerably larger than the requested fee, a lodestar cross-

   check further evidences the reasonableness of Petitioners’ request. See Hayes v.

   Sec'y of Health and Human Servs., 923 F.2d 418, 422 (6th Cir. 1990) (a contingent

   fee amount that has the effect of compensating the attorney at a hypothetical hourly

   rate that is less than two times the standard market hourly rate is “per se
                                              10
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   reasonable,” and payment of the fee does not result in a windfall to the attorney).

   Moreover, Petitioners’ fee request is well within, if not below, the customary fee

   for comparable work. See supra, Sections B.1. and B.2.


                3.    Whether the Services Were Undertaken on a Contingent Fee
                      Basis
         Class Counsel have taken this case solely on a contingency fee basis. As a

   result, Class Counsel have undertaken the risk of an unsuccessful outcome for

   which they would not receive compensation of any kind. Further, Class Counsel

   have not been compensated for any time since the litigation began in 2010. This

   factor thus weighs in favor of awarding the requested fee. See Gentrup v. Renovo

   Servs., LLC, No. 1:07CV430, 2011 U.S. Dist. LEXIS 67887, at *14 (S.D. Ohio

   June 24, 2011) (finding that Class Counsel had made “significant investments of

   time and [had] advanced costs but [had] received no compensation in this matter”

   weighed in favor of the requested fee).


                4.    Society's Stake in Rewarding Attorneys Who Produce Such
                      Benefits in Order to Maintain an Incentive to Others
         Attorneys who bring difficult and risky antitrust class actions where

   individual plaintiffs would receive only a small recovery or are unable to pursue

   litigation on their own benefit society and should be rewarded for their benefits. In


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   re Cardizem CD Antitrust Litig., 218 F.R.D. 508, 534 (E.D. Mich. 2003)

   (“Encouraging qualified counsel to bring inherently difficult and risky but

   beneficial class actions like this [antitrust] case benefits society.”). See also In re

   Southeastern Milk Antitrust Litig., No. 2:07-CV 208, 2013 U.S. Dist. LEXIS

   70167, at *23 (E.D. Tenn. May 17, 2013) (“failing to fully compensate class

   counsel for the excellent work done and the various substantial risks taken would

   undermine society's interest in the private litigation of antitrust cases”).

   Accordingly, this factor too weighs in favor of the requested award.


                5.     The Complexity of the Litigation
         This case involved extensive efforts by Class Counsel over more than four

   years of hard-fought litigation. Petitioners’ work included, among other things, the

   investigation of claims; the briefing and argument of motions, including class

   certification and the opposition of six motions for summary judgment and/or

   motions for judgment on the pleadings; substantial discovery, reviewing thousands

   of pages of documents and analyzing data on hundreds of thousands of real estate

   transactions; extensive consultations with two experts including the submission of

   expert reports; taking and defending of expert depositions regarding class

   certification and damages issues; negotiating the settlement which grew from three



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   formal mediation sessions and several additional informal settlement conferences;

   and requesting settlement approval.

         “[A]ntitrust litigation, like all litigation of its species, promises to be

   extremely complex and time intensive and there is no question that if settlement

   fails, the Defendants will mount a strong defense.” In re Packaged Ice Antitrust

   Litig., No. 08-MDL-01952, 2011 U.S. Dist. LEXIS 150427, at *76 ( E.D. Mich.

   Dec. 13, 2011); Skelaxin (Metaxalone) Antitrust Litig., 2014 U.S. Dist. LEXIS

   91661, at *9 (“Antitrust class actions are inherently complex.”). This case is no

   exception.

         Furthermore, as Courts have noted, “[c]ourts may enhance attorneys’ fees

   when the case involves ‘priority work that delays the lawyer's other legal work.’”

   E.g., Citizens Ins. Co. of Am. v. KIC Chems., Inc., No. 1:04-CV-385, 2007 U.S.

   Dist. LEXIS 73201, at *30 (W.D. Mich. Oct. 1, 2007) (quoting Johnson v. Georgia

   Highway Express, Inc., 488 F.2d 714, 718 (5th Cir. 1974)). In the course of this

   complex litigation, urgent briefing and discovery matters inevitably arose,

   requiring Counsel to prioritize this matter above other cases. Litigating and

   resolving this antitrust class action is the type of “priority work” described in

   Johnson.




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                 6.    The Professional Skill of Counsel Involved on Both Sides
         “The ability of Lead Counsel to negotiate a favorable settlement in the face

   of formidable legal opposition [] evidences the reasonableness of the fee award

   requested.” In re Delphi Corp. Securities, Derivative & “ERISA” Litig., 248

   F.R.D. 483, 504 (E.D. Mich. 2008). See also In re F&M Distribs., Inc. Sec. Litig.,

   No. 95-CV-71778-DT, 1999 U.S. Dist. LEXIS 11090, at *19 (E.D. Mich. June 29,

   1999) (“The skill and competence of the attorneys for the plaintiffs was evident,

   especially when viewed on the basis of the results that they obtained in this case,

   while the excellent advocacy skills of the defense counsel . . . were equally

   evident”.).

         Here, the total recovery achieved – $3.25 million – is substantial and

   strongly indicates the skill and efficiency of Class Counsel. As discussed in more

   detail in the Settlement Memorandum, this case presented numerous challenges to

   Plaintiffs. That such a significant settlement was achieved attests to the skill of

   Class Counsel.

         Moreover, Petitioners are highly experienced in complex class action

   litigation and antitrust disputes in particular. In fact, Lead Counsel for Plaintiffs

   has represented plaintiffs in antitrust class actions alleging substantially similar

   claims of anticompetitive schemes by multi-list services to use their rules and


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   membership criteria to exclude or hinder lower priced innovative competitors. See

   Robertson v. Sea Pines Real Estate Companies, Inc., 3:09-cv-00095-SB (D. S.C.)

   (settled); Logue v. West Penn Multi-List, Inc., 2:10-cv-451 (W.D. Pa.) (settled);

   and Boland v. Consolidated Multiple Listing Service, Inc., et al., 3:09-1335-SB (D.

   S.C.)(settled). This experience with similar claims equipped Class Counsel to

   effectively marshal evidence and litigate claims on behalf of the Class while

   making informed decisions about the value of this case and the risks of continuing

   and protracted litigation. Accordingly, Class Counsel have drawn upon their

   uniquely pertinent experience to pursue the interests of the Class.

         Finally, Defendants were well-represented by leading defense counsel from

   large, resourceful law firms with years of experience litigating antitrust and

   complex commercial actions, which further supports the reasonableness of the

   requested fee award. See In re Delphi Corp. Securities, Derivative & “ERISA”

   Litig., 248 F.R.D. 483, 504 (E.D. Mich. 2008) (“The ability of Co-Lead Counsel to

   negotiate a favorable settlement in the face of formidable legal opposition further

   evidences the reasonableness of the fee award requested.”)


         D.     The Request for an Award of Expenses Incurred is Reasonable

         “Where … a litigant has created a common fund by settlement for the

   benefit of a class, he or she is entitled to reimbursement for reasonable fees and
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   expenses necessary for the successful prosecution of the litigation.” In re Southern

   Ohio Correctional Facility, 175 F.R.D. 270, 274 (S.D. Ohio 1997) (citing Boeing

   Co. v. Van Gemert, 444 U.S. 472, 478-79 (1980)). Plaintiffs litigated this case

   vigorously for more than three years. As noted above, during that period of time,

   Class Counsel incurred expenses totaling $300,771.71. See Penny Decl. ¶ 6. The

   expenses consist mostly of costs for experts in addition to court reporter charges,

   limited travel, photocopying, process service fees, and electronic research. The

   requested expenses are detailed in Penny Decl., Ex.1. Class Counsel seek entry of

   an Order authorizing $300,771.71 for the reimbursement of such reasonable and

   necessary expenses incurred in connection with the prosecution of this action.

         In connection with notice and claims administration, Angeion Group (“AG”)

   has incurred costs of $137,639.45 that have been paid from the Settlement Fund

   pursuant to the Settlement Agreement. AG anticipates additional costs in

   administering the settlement and disseminating payments to Class Members of

   approximately $35,000.00. In total, it is estimated that the costs of notice and

   claims administration will be approximately $173,000.00.

         Settlement Class members were informed in the recently published and

   mailed Notices that Class Counsel would be seeking up to $550,000 in expenses

   and to date no objections to those expenses have been received. Accordingly, the

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   total anticipated expenses of less than $475,000.00 is well below the number

   forecast in those Notices. To date, there have been no objections to these forecast

   expenses by any member of the class.


   II.    The Request for an Incentive Award to Plaintiffs is Reasonable

          “Courts within the Sixth Circuit...recognize that, in common fund cases and

   where the settlement agreement provides for incentive awards, class

   representatives who have had extensive involvement in a class action litigation

   deserve compensation above and beyond amounts to which they are entitled to by

   virtue of class membership alone.” Lonardo v. Travelers Indemnity Company, 706

   F. Supp. 2d 766, 787 (N.D. Ohio 2010). Here, Plaintiffs request a reasonable award

   of $12,500 to the Allans, $12,500 to the Cavendishs, and $12,500 to Landen for

   their services as class representatives, including reviewing pleadings and briefs,

   participating in case strategy, preparing for and traveling to their respective day-

   long depositions, and diligently representing the interests of the Class throughout

   the litigation.

          The approved notice informed Class Members of the requested incentive

   award and no Class Members have objected to that request. Moreover, the award is

   in line with the award approved in Logue. See Logue v. West Penn Multi-List, Inc.,

   2:10-cv-451 (W.D. Pa. Nov. 1, 2011) (Dkt. 105, p. 6) (approving $10,000 award in
                                             17
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   case in which the representative was not deposed). See also Skelaxin (Metaxalone)

   Antitrust Litig., 2014 U.S. Dist. LEXIS 91661, at *12 (awarding named Plaintiffs

   $50,000 each from the common fund). Accordingly, the Court should approve the

   requested incentive award.


                                   CONCLUSION

         For the foregoing reasons, Plaintiffs and Class Counsel respectfully request

   the Court enter an order awarding $1,083,333.33 (or 1/3 of the Settlement Fund) in

   attorneys’ fees, $300,771.71 in expenses and Plaintiffs’ representative awards of

   $12,500 to the Allens, $12,500 to the Cavendishes, and $12,500 to Landen.



   Date: August 6, 2014                 Respectfully Submitted,

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                                     Certificate of Service

         I certify that on August 6, 2014, I electronically filed the above Memorandum,

   as well as the Unopposed Motion for Award of Attorneys’ Fees, Reimbursement of

   Expenses Incurred and for Payment of Representative Awards and accompanying

   Declaration and Exhibits with the Clerk of the Court using the ECF system.


                                          /s/ Brian D. Penny (Not Sworn)
                                                  Brian D. Penny




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